Case 23-13359-VFP             Doc 2074      Filed 08/28/23 Entered 08/28/23 23:14:19                       Desc Main
                                           Document     Page 1 of 6



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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 BED BATH & BEYOND INC., et al.,                               Case No. 23-13359 (VFP)
                                                1
                                      Debtors.                 (Jointly Administered)
                                                               Re: Docket No. 2068, 2069




 1     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
       the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
       Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
       Cases is 650 Liberty Avenue, Union, New Jersey 07083.



 KE 99561826
Case 23-13359-VFP            Doc 2074       Filed 08/28/23 Entered 08/28/23 23:14:19                        Desc Main
                                           Document     Page 2 of 6



                  DEBTORS’ OBJECTION TO THE APPLICATION FOR
              ORDER SHORTENING TIME WITH RESPECT TO THE MOTION
            OF BED BATH AND BEYOND COMMON STOCK EQUITY INTEREST
       HOLDERS’ MOTION, PURSUANT TO 11 U.S.C. § 105(A), FED. R. CIV. P. 60(B),
           AND FED. R. BANKR. P. 9024 FOR AN ORDER VACATING THE ORDER
      (I)(A) CONDITIONALLY APPROVING THE ADEQUACY OF THE DISCLOSURE
     STATEMENT, (B) APPROVING THE SOLICIATION AND NOTICE PROCEDURES
           WITH RESPECT TO CONFIRMATION OF THE PLAN, (C) APPROVING
       THE FORMS AND BALLOTS AND NOTICES IN CONNECTION THEREWITH2

          TO: THE HONORABLE JUDGE VINCENT F. PAPALIA UNITED STATES

 BANKRUPTCY COURT FOR THE DISTRICT OF NEW JERSEY:

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

 respectfully state the following in support of this objection (the “Objection”) to the Application for

 an Order Shortening Time filed at Docket No. 2069 (the “Application”) by Neely Das
                    3
 (the “Movant”).




 2    While the Application purports to seek an expedited hearing with respect to “Bed Bath and Beyond Common
      Stock Equity Interest Holders’ Motion, Pursuant to 11 U.S.C. § 105(A), Fed R. Civ P. 60(B), And Fed R. Bankr.
      P. 9024, For An Order Vacating The Order (I)(A) Conditionally Approving the Adequacy of The Disclosure
      Statement, (B) Approving the Solicitation And Notice Procedures With Respect to Confirmation of the Plan, (C)
      Approving the Forms of Ballots and Notices in Connection Therewith,” the Debtors have not been able to identify
      the referenced document on the docket. It appears that the Movant is seeking an expedited hearing with respect
      to the Certification of Neely Das in Support of Bed Bath and Beyond Common Stock Equity Interest Holders’
      Motion, Pursuant to 11 U.S.C. § 105(A), Fed R. Civ P. 60(B), And Fed R. Bankr. P. 9024, For An Order Vacating
      The Order (I)(A) Conditionally Approving the Adequacy of The Disclosure Statement, (B) Approving the
      Solicitation And Notice Procedures With Respect to Confirmation of the Plan, (C) Approving the Forms of Ballots
      and Notices in Connection Therewith filed at Docket No. 2068 (the “Das Certification”).
 3    Capitalized terms used but not otherwise defined in this Objection shall have the meanings ascribed to them in:
      (a) the Declaration of Holly Etlin, Chief Restructuring Officer and Chief Financial Officer of Bed Bath & Beyond
      Inc., in Support of the Debtors’ Chapter 11 Petitions and First Day Motions [Docket No. 10] (the “First Day
      Declaration”); and (b) the Order (I)(A) Conditionally Approving the Adequacy of the Disclosure Statement,
      (B) Approving the Solicitation and Notice Procedures with Respect to Confirmation of the Plan, (C) Approving
      the Forms of Ballots and Notices in Connection Therewith, (D) Scheduling a Combined Disclosure Statement and
      Plan Confirmation Hearing and Certain Dates and Deadlines with Respect Thereto, and (E) Granting Related
      Relief, and (II)(A) Extending the Debtors’ Exclusive Periods to File a Chapter 11 Pan and Solicit Acceptances
      Thereof Pursuant to Section 1121 of the Bankruptcy Code and (B) Granting Related Relief [Docket No. 1121]
      (the “Conditional DS Order”). A detailed description of the Debtors, their businesses, and the facts and
      circumstances supporting the Debtors’ Chapter 11 Cases is set forth in greater detail in the First Day Declaration
      and incorporated by reference herein.



 KE 99561826
Case 23-13359-VFP           Doc 2074      Filed 08/28/23 Entered 08/28/23 23:14:19                     Desc Main
                                         Document     Page 3 of 6



                                                   Objection

         1.       On August 2, 2023, after notice and a hearing (the “Conditional DS Hearing”),

 the Court entered the Conditional DS Order, authorizing the Debtors to commence the solicitation

 of votes on the Plan. Among other things, the Conditional DS Order established the schedule

 according to which the Debtors seek confirmation of the Plan and approval of the

 Disclosure Statement on a final basis. Pursuant to that schedule, the deadline by which parties

 may object to confirmation of the Plan or approval of the Disclosure Statement is on September 1,

 2023, at 4:00 p.m. prevailing Eastern Time (the “Combined Objection Deadline”).

         2.       Prior to the Conditional DS Hearing, Movant attempted to file an objection to entry

 of the Conditional DS Order, asserting several of the same allegations set forth in the

 Das Certification. During the Conditional DS Hearing, the Court ruled that it would not consider

 the “objection” on the basis that it lacked a signature from counsel, leaving the Court unable to

 identify the moving party. However, the Court noted that it would consider a procedurally proper

 objection filed by the Movant subsequent to the Conditional DS Hearing as an objection to

 confirmation of the Plan and/or final approval of the Disclosure Statement, as applicable.

 On August 10, 2023, despite the fact that the Court had already entered the Conditional DS Order,

 Movant filed an objection to entry of the Conditional DS Order which was substantively identical

 to the procedurally improper objection Movant had previously attempted to file.4 And then, on

 August 28, 2023, Movant filed the Das Certification and the Objection.



 4   See Bed Bath and Beyond Common Stock Equity Interest Holders’ Objection to Debtors’ Motion for Entry of an
     Order (I)(A) Conditionally Approving the Adequacy of the Disclosure Statement, (B) Approving the Solicitation
     and Notice Procedures with Respect to Confirmation of the Plan, (C) Approving the Forms of Ballots and Notices
     in Connection Therewith, (D) Scheduling a Combined Disclosure Statement and Plan Confirmation Hearing and
     Certain Dates and Deadlines with Respect Thereto, and (E) Granting Related Relief, and (II)(A) Extending the
     Debtors’ Exclusive Periods to File a Chapter 11 Pan and Solicit Acceptances Thereof Pursuant to Section 1121
     of the Bankruptcy Code and (B) Granting Related Relief [Docket No. 1878].



 KE 99561826
Case 23-13359-VFP        Doc 2074    Filed 08/28/23 Entered 08/28/23 23:14:19              Desc Main
                                    Document     Page 4 of 6



         3.     While the Debtors do not purport to fully address the substance of Movant’s

 arguments set forth in the Das Certification through this Objection, and hereby reserve their rights

 to do so in the future, it is apparent that these arguments may properly be considered by the Court

 in the context of confirmation of the Plan and final approval of the Disclosure Statement. Just as

 Movant alleged in his prior filings, Movant appears to argue in the Das Certification that the

 Debtors have failed to account for certain existing equity interests as comprising part of the

 Debtors’ estates, and consequently, the Debtors have failed to provide adequate information in the

 Disclosure Statement and seek confirmation of an unconfirmable Plan. Movant has failed to

 demonstrate any valid justification for seeking the extraordinary relief of vacating the Conditional

 DS Order, rather than addressing through an objection to confirmation of the Plan or final approval

 of the Disclosure Statement. The Court established the Combined Objection Deadline for parties

 asserting precisely these sorts of arguments related to the adequacy of the Disclosure Statement.

         4.     Moreover, under the plain text of Rule 60(b), relief as to the Conditional DS Order

 is unavailable to Movant. Rule 60(b) provides that “a court may relieve a party . . . from a final

 judgment, order, or proceeding” for a number of reasons. Fed R. Civ. P. 60(b) (emphasis added).

 Here, the Conditional DS Order is, by definition and title, not a final order. Therefore, the relief

 available in Rule 60(b) simply does not cover an appeal related to the Conditional DS Order, and

 as such the Das Certification should be denied with respect to the Conditional DS Order.

 See Kham & Nate’s Shoes No. 2., Inc. v. First Bank of Whiting, 908 F.2d 1351, 1355 (7th Cir.

 1990) (“Rule 60(b) . . . applies only to final decisions.”); In re Island View Crossing II, L.P., 604

 B.R. 181, 193 n.6 (Bankr. E.D. Pa. 2019).

         5.     Lastly, Movant has failed to demonstrate an exigent need for a hearing on the

 Das Certification on less than 24 hours’ notice, as is requested in the Application. There is nothing




 KE 99561826
Case 23-13359-VFP       Doc 2074    Filed 08/28/23 Entered 08/28/23 23:14:19            Desc Main
                                   Document     Page 5 of 6



 alleged in the Application that would merit expedited consideration, nor has the Movant

 demonstrated any harm to himself that would result from failure to grant such relief. The Debtors

 do not object to the Das Certification being heard during the Combined Hearing scheduled for

 September 12, 2023, at 2:30 P.M. prevailing Eastern Time. However, the Court should not grant

 Movant’s unmeritorious request for an extraordinarily expedited hearing, and accordingly,

 the Court should deny the Application.

         6.    In light of the Application’s less than 24 hours’ notice and the Notice of

 Cancellation of All Matters Scheduled for Hearings on August 29, 2023 at 2:30 P.M. (ET) [Docket

 No. 2073], the Debtors waive any oral argument related to the Application and request that the

 Court decide the matter on the papers.

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 KE 99561826
Case 23-13359-VFP        Doc 2074    Filed 08/28/23 Entered 08/28/23 23:14:19          Desc Main
                                    Document     Page 6 of 6



         WHEREFORE, the Debtors respectfully request that the Court enter an order denying the

 Application, with prejudice, and granting such other relief as is just and proper under the

 circumstances.



Dated: August 28, 2023
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 KE 99561826
